                                     Case 21-13965    Doc 83-2          Filed 02/14/23    Page 1 of 2
Label Matrix for local noticing                Synchrony Bank                                  American Express National Bank
0416-1                                         c/o PRA Receivables Management, LLC             c/o Becket and Lee LLP
Case 21-13965                                  PO Box 41021                                    PO Box 3001
District of Maryland                           Norfolk, VA 23541-1021                          Malvern PA 19355-0701
Baltimore
Fri Mar 4 15:27:43 EST 2022
BWW Law Group                                  Becket & Lee                                    Cavalry Portfolio Serv
6003 Executive Blvd                            PO Box 3001                                     500 Summit Lake Drive
Suite 101                                      Malvern, PA 19355-0701                          Ste. 400
Rockville, MD 20852-3813                                                                       Valhalla, NY 10595-2322


City of Baltimore                              (p)COMPTROLLER OF MARYLAND                      Credit One Bank
200 N. Holliday Street                         BANKRUPTCY UNIT                                 Attn: Bankruptcy Department
Rm. 1, Attn: Bankruptcy                        301 W PRESTON ST ROOM 409                       Po Box 98873
Baltimore, MD 21202-3618                       BALTIMORE MD 21201-2383                         Las Vegas, NV 89193-8873


Department of Education/Nelnet                 Department of Treasury                          (p)DISCOVER FINANCIAL SERVICES LLC
Attn: Bankruptcy                               Internal Revenue Service                        PO BOX 3025
Po Box 82561                                   PO Box 7346                                     NEW ALBANY OH 43054-3025
Lincoln, NE 68501-2561                         Philadelphia PA 19101-7346


First Premier Bank                             (p)INTERNAL REVENUE SERVICE                     Internal Revenue Service
Attn: Bankruptcy                               CENTRALIZED INSOLVENCY OPERATIONS               PO Box 7346
Po Box 5524                                    PO BOX 7346                                     Philadelphia, PA 19101-7346
Sioux Falls, SD 57117-5524                     PHILADELPHIA PA 19101-7346


MECU of Baltimore, Inc.                        Mayor and City Council of Baltimore             (p)PNC BANK RETAIL LENDING
Attn: Bankruptcy                               200 Holliday Street Room #1 Bankrup             P O BOX 94982
One South St.                                  Baltimore, MD 21202-3635                        CLEVELAND OH 44101-4982
Baltimore, MD 21202-3298


Pinnacle Credit Service                        Pinnacle Credit Services, LLC                   Selene Finance
PO Box 10587                                   Resurgent Capital Services                      9990 Richmond Avenue
Greenville, SC 29603-0587                      PO Box 10587                                    Suite 400 South
                                               Greenville, SC 29603-0587                       Houston, TX 77042-4546


State of Maryland DLLR                         Supervisor of Delin. Accts.                     The College Network
Division of Unemployment Insurance             Abel Wolman Municipal Building                  PO Box 35860
1100 N. Eutaw Street, Room 401                 200 Holliday Street- Room #1 Bankruptcy         Las Vegas, NV 89133-5860
Baltimore, MD 21201-2226                       Baltimore, MD 21202-3635


US Department of Education c/o Nelnet          Verizon                                         Verizon Wireless
121 S 13th St, Suite 201                       by American InfoSource as agent                 500 Technology Drive
Lincoln, NE 68508-1911                         4515 N Santa Fe Ave                             Suite 500
                                               Oklahoma City, OK 73118-7901                    Weldon Springs, MO 63304-2225


Wilmington Savings Fund Society                Wilmington savings fund society, FSB            Gerard Richard Vetter
409 Silverside Rd.                             9990 Richmond Ave. Suite 400 South Attn:        Gerard R. Vetter, Interim Chapter 13 Tru
Wilmington, DE 19809-1771                      Houston, TX 77042-4546                          300 E. Joppa Road
                                                                                               Suite 409
                                                                                               Towson, MD 21286-3005
                                       Case 21-13965        Doc 83-2        Filed 02/14/23           Page 2 of 2
Jeffrey M. Sirody                                    Jeffrey M. Sirody                                    Jill L. Phillips
Jeffrey M. Sirody & Associates, P.A.                 Jeffrey M. Sirody and Associates, P.A.               The Phillips Law Offices, LLC
1777 Reisterstown Road                               1777 Reisterstown Road                               6301 Ivy Lane Suite 700
Suite 360E                                           Suite 360 E                                          Greenbelt, MD 20770-6330
Baltimore, MD 21208-1313                             Baltimore, MD 21208-1313

Rhonda L. Wimbish
3514 White Chapel Rd.
Baltimore, MD 21215-7332




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Comptroller of Maryland                              (d)Comptroller of the Treasury                       Discover Bank
Revenue Admins Division                              Compliance Division, Room 409                        6500 New Albany Rd.
110 Carroll St.                                      301 W. Preston Street                                New Albany, OH 43054
Annapolis, MD 21411                                  Baltimore, MD 21201


IRS                                                  PNC Bank                                             (d)PNC Bank National Association
31 Hopkins Pl.                                       2730 Liberty Avenue                                  PO Box 94982
Rm. 1150                                             Pittsburgh, PA 15222                                 Cleveland, OH 44109
Baltimore, MD 21201


(d)State of Maryland
Comptroller of the Treasury
301 W. Preston Street, Room 410
Baltimore, MD 21201




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)U.S. Bank Trust National Association, not         (u)Wilmington Savings Fund Society, FSB, d/b/        (u)American Express
                                                                                                          INVALID ADDRESS PROVIDED




End of Label Matrix
Mailable recipients    33
Bypassed recipients     3
Total                  36
